             Case 1:20-cv-01602-LJV Document 32 Filed 10/04/22 Page 1 of 4
.

    UNITED STATES DISTRICT COURT
    WESTERN DISTRICT OF NEW YORK
    UNITED STATES OF AMERICA,
                                  Plaintiff
                -v-

    THE PREMISES AND REAL PROPERTY WITH                              20-cv-1602-LJY
    BUILDINGS, APPURTENANCES, AND
    IMPROVEMENTS AT 132 LAKEFRONT BOULEVARD
    UNIT 601, BUFFALO, NEW YORK, THAT IS, ALL
    THAT TRACT OR PARCEL OF LAND, SITUATED
    IN THE CITY OF BUFFALO, COI.]NTY
    OF ERIE, STATE OF NEW YORK, AND MORE
    PARTICULARLY DESCRIBED IN A CERTAIN
    DEED RECORDED IN THE ERIE COUNTY
    CLERK'S OFFICE IN BOOK 71275, PAGE 6575, et. al.,

                                  Defendants




                                 NOTICE OF MOTION


    MOVING PARTY:                        Plaintiff

    PLACE:                               Hon. Lawrence J. Vilardo
                                         U.S. District Court
                                         2 Niagara Square
                                         Buffalo, New York 14202

    RETURN DATE:                         To be determined by the Court

    RELIEF SOUGHT:                       Plaintiffrespectfully moves the Court for an Order
                                         Fully Unsealing the Affidavit of Special Agent
                                         Jason A. Kammeraad and its attached Exhibits
                                         that are referenced and incorporated in the
                                         Verified Complaint for Forfeiture, pursuant to
                                         Rule 5.3(e) of the Local Rules of Civil Procedure.

    PAPERS SUBMITTED:                     Affidavit of Assistant United States Attomey
                                          Grace M. Carducci.
     Case 1:20-cv-01602-LJV Document 32 Filed 10/04/22 Page 2 of 4


                                TRINI E. ROSS
                                United States Attorney
                                Western Disrict of New York




                          By:         CE M. CARDU
                                          U.S. Attorney
                                    Federal Building
                                100 State Street
                                Rochester, New York 14674
                                (s8s) 263-6760
                                Grace. Carducci@usdoj. gov




DATED:   October 4,2022
           Case 1:20-cv-01602-LJV Document 32 Filed 10/04/22 Page 3 of 4


UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
UNITED STATES OF AMERICA,
                                        Plaintiff
                 -v-

THE PREMISES AND REAL PROPERTY WITH                                            20-cY-|602-LIY
BUILDINGS, APPURTENANCES, AND
IMPROVEMENTS AT 132 LAKEFRONT BOULEVARD
UNIT 601, BUFFALO, NEW YORK, THAT IS, ALL
THAT TRACT OR PARCEL OF LAND, SITUATED
IN THE CITY OF BUFFALO, COUNTY
OF ERIE, STATE OF NEW YORK, AND MORE
PARTICULARLY DESCRIBED IN A CERTAIN
DEED RECORDED IN THE ERIE COLINTY
CLERK'S OFFICE IN BOOK 11275, PAGE 6575, et. al.,

                                       Defendants




AFFIDAVIT IN SUPPORT OF MOTION TO FULLY UNSEAL THE AFFIDAYIT OF
   SPECIAL AGENT JASON A. KAMMERAAD AND ATTACIIED EXHIBITS


STATE OF NEW YORK )
COUNTY OF MONROE )                     SS

CITY OF ROCHESTER )


         GRACE M. CARDUCCI, being duly swom, deposes and says:

         1.      I am an Assistant United     States   Attorney, of counsel to Trini E. Ross, United

States   Attomey for the Western District of New York, counsel for the Plaintiffin the above-

referenced    action. As such, I am fully familiar with      the pleadings and proceedings to date.

         2.      I   submit this affidavit   in   support of Plaintiffs motion for an Order fully

unsealing the Affidavit of Jason A. Kammeraad and attached Exhibits that are referenced and

incorporated in the Plaintiffs Verified Complaint for Forfeiture, pursuant to Rule 5.3(e) of

the Local Rules of Civil Procedure.
         Case 1:20-cv-01602-LJV Document 32 Filed 10/04/22 Page 4 of 4


       3.      By an Order dated November 18,2020, this Court grantedPlaintiffs motion to

seal the affrdavit of Jason   A. Kammeraad. ECF No. 11.

       4.      On December 18, 2020, this Court granted a joint motion for a protective order

which partially unsealed the affidavit of Jason A. Kammeraad to be utrTized by Joel L.

Daniels, Esq. and Michael Luehrsen. ECF No. 18.

       5.      Plaintiff requests that the Affidavit of Jason   A.   Kammeraad and attached

Exhibits be fully unsealed for the purpose of including the documents as an Exhibit to the

Govemment's Response in Opposition to the Defendant's Motion for Release of Funds to

Retain Counsel filed in a related criminal case, United States v. Michael W. Luehrsen, 2l-CR-

120-LJV. ECF     No. 180.

       WHEREFORE, Plaintiff respectfully requests that the Affidavit            of   Jason A.

Kammeraad and attached Exhibits be fully unsealed by this Court.




                                                                CE M. CARDU
                                                          Assistant United States


Subscribed and swom to before
me this 4th day of October,2022




          Notary Public

Anna M. Sedor
Notary Public, State of New York
Monroe County
Commission Expires October 37, 2025
